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   8                            UNITED STATES DISTRICT COURT
   9                         SOUTHERN DISTRICT OF CALIFORNIA
  10                                   (HON. JEFFREY T. MILLER)
  11   UNITED STATES OF AMERICA,                )         Criminal No. 04CR1765-001-JM
                                                 )
  12                         Plaintiff,          )
                                                 )        ORDER TO GRANT
  13   v.                                        )        EARLY TERMINATION OF
                                                 )        SUPERVISED RELEASE
  14   JOSEPH KASPER,                           )
                                                 )
  15                         Defendant.          )
                                                )
  16
  17          IT IS HEREBY ORDERED THAT Defendant’s Motion for Early Termination of Supervised
  18   Release be granted forthwith.
  19   DATED: November 4, 2009
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                                                     Hon. Jeffrey T. Miller
  21                                                 United States District Judge
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